Case 2:15-cv-08830-JAK-KS Document 218 Filed 01/29/18 Page 1 of 11 Page ID #:3216



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   13
   14                                UNITED STATES DISTRICT COURT

   15               CENTRAL DISTRICT OF CALIFORNIA WESTERN DIVISION

   16    VOICE INTERNATIONAL, INC., a                  Case No.: 2:15-cv-08830-JAK(KS)
         California corporation; DAVID
   17    GROBER, an individual,
                                                       Joint Scheduling Report
   18           Plaintiffs,
                                                       Date: Feb. 5, 2018
   19           vs.                                    Time: 8:30 a.m.
                                                       Place: Courtroom 10B First Street
   20    OPPENHEIMER CINE RENTAL,
         LLC, et al.,
   21
                Defendants
   22
   23           .
   24           Pursuant to Dkt. 208 and 216, the parties, Plaintiffs Voice International and
   25   David Grober and Defendants Oppenheimer Cine Rental, LLC, Oppenheimer
   26   Camera Products, Inc., Marty Oppenheimer and Oceanic Production Equipment,
   27   Ltd. met-and-conferred on January 23, 2018 and jointly report to the Court.
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        ACTIVE\53173537.v1-1/29/18
Case 2:15-cv-08830-JAK-KS Document 218 Filed 01/29/18 Page 2 of 11 Page ID #:3217




    1                                    I.    Further Mediation
    2                    Plaintiffs Grober’s and Voice International’s Position
    3           The parties are far apart on their offers, such that Plaintiffs believe further
    4   mediation will not be productive presently.
    5                                   Plaintiff Grober’s Position
    6           Furthermore, the Kleins and John Dann re-purchased their 5 MakoHeads
    7   when they bankrupted their company, Mako, owned by the Kleins. They continued
    8   MakoHead rentals during the bankruptcy and after, personally or through their new
    9   entity, OPEL, of the Bahamas. An infringement decision is required to prevent
   10   further infringement by the MakoHead or its progeny. Defendants have now placed
   11   into the public record, Smith’s declaration, schematics and photographs, including
   12   Plaintiffs’ trade secrets, on how to build the device. Dkt. 141-2, 141-3.
   13                                   Defendant OPEL’s Position
   14           Plaintiffs’ position set forth in the above paragraph is a gross
   15   mischaracterization and irrelevant to scheduling.
   16           Defendant Oceanic Production Equipment, Ltd. (OPEL) disagrees with
   17   Plaintiffs’ views regarding mediation. OPEL views Plaintiffs' allegations of
   18   infringement of US Patent 6,611,662 as entirely baseless and considers Plaintiffs’
   19   damages claim to be beyond the pale. In an effort to achieve closure, OPEL has
   20   made reasonable offers of settlement, to no avail. OPEL believes that a mediation
   21   or another settlement conference with Magistrate Judge Karen L. Stevenson may
   22   facilitate settlement by drawing attention to relative weaknesses of the parties' legal
   23   positions.
   24                                Defendant Oppenheimer’s Position
   25           The Oppenheimer Defendants agree with OPEL’s recommendation for
   26   further mediation or another settlement conference before the Magistrate Judge.
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        ACTIVE\53173537.v1-1/29/18
Case 2:15-cv-08830-JAK-KS Document 218 Filed 01/29/18 Page 3 of 11 Page ID #:3218




    1           II. Issues That Need To Be Addressed Prior To Commencement of Trial
    2                    Plaintiffs Grober’s and Voice International’s Position
    3           A: Pursuant to Dkt. 216 Plaintiffs will be filing a Second Amended
    4   Complaint on or before Feb. 1, 2018 and a discovery schedule will need to be set.
    5           During the meet and confer teleconference on January 23, 2018, Plaintiff
    6   Grober stated that he is reviewing new evidence as pertaining to naming individuals
    7   Jordan Klein, Sr.; Jordan Klein, Jr.; and John Dann as defendants in the Second
    8   Amended Complaint. Although the Court previously determined there was lack of
    9   personal jurisdiction, on these individuals, new evidence may show differently.
   10           Plaintiffs need to conduct written discovery and depositions because previous
   11   discovery to Florida Defendants, including OPEL and Dann was limited to
   12   jurisdiction issues. Defendants refused to answer numerous Requests for Production
   13   and Interrogatories citing it violated the jurisdiction restriction. Plaintiffs will
   14   provide these responses to the Court if requested.
   15           As Plaintiffs were forced to take the initial deposition of Mr. Oppenheimer
   16   prior to being allowed to conduct written discovery on all defendants, and Mr.
   17   Oppenheimer insisted on leaving the deposition after only four hours, a second or
   18   continued deposition may be necessary once discovery is received pertaining to
   19   Oppenheimer’s MakoHead rentals and the involvement of OPEL or whomever was
   20   the recipient of rental income, and/or owned the accused infringing MakoHeads.
   21           Defendant Oppenheimer’s argument below does not address the simple fact
   22   that Plaintiffs did not have the opportunity to conduct discovery on all defendants
   23   concurrently and that it is believed that discovery obtained from OPEL will raise
   24   new questions to be posed to Oppenheimer.
   25           The Court has stated there are additional claim constructions for the terms
   26   “fixed” and “based on” which will need to be decided.
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        ACTIVE\53173537.v1-1/29/18
Case 2:15-cv-08830-JAK-KS Document 218 Filed 01/29/18 Page 4 of 11 Page ID #:3219




    1                                Defendant OPEL’s Position
    2           During the meet and confer teleconference on January 23, 2018, Plaintiff
    3   Grober stated, in no uncertain terms, that he intended to name individuals Jordan
    4   Klein, Sr.; Jordan Klein, Jr.; and John Dann as defendants in the Second Amended
    5   Complaint, despite this Court’s order dismissing the First Amended Complaint
    6   against these same individuals for lack of personal jurisdiction. Plaintiffs initiated
    7   this lawsuit on November 12, 2015 [Dkt. 1], but did not name OPEL, Jordan Klein
    8   Sr., Jordan Klein Jr. and John Dann as defendants until Plaintiffs filed a first
    9   amended complaint [Dkt. 36] on June 15, 2016. In an order dated May 22, 2017
   10   [Dkt. 142], the court dismissed the complaint against Jordan Klein Sr., Jordan Klein
   11   Jr. and John Dann for lack of personal jurisdiction, but denied the motion to dismiss
   12   by OPEL. If named as defendants in the Second Amended Complaint, Jordan
   13   Klein, Sr.; Jordan Klein, Jr.; and John Dann will have no choice but to move, yet
   14   again, for dismissal for lack of personal jurisdiction and venue.
   15           While preserving objections to requests that clearly exceeded the scope of
   16   jurisdictional discovery, Defendant OPEL produced responsive documents and
   17   answers to interrogatories to the extent the information was available and not
   18   protected by privilege. Plaintiffs’ assertion that OPEL withheld responsive non-
   19   privileged information or documents is false.
   20           OPEL has not yet filed an answer, has not yet submitted a brief or been heard
   21   on claim construction, has not previously participated in scheduling, has not yet
   22   conducted discovery and has not yet filed a dispositive motion. Defendant OPEL
   23   will file a pleading in response to Plaintiffs’ Second Amended Complaint.
   24   Defendant OPEL will participate in claim construction in accordance with the
   25   Court’s order [Dkt. 216]. Defendant OPEL will submit written discovery and
   26   schedule and take a deposition of at least David Grober. Defendant OPEL will also
   27   move for summary judgment of noninfringement.
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        ACTIVE\53173537.v1-1/29/18
Case 2:15-cv-08830-JAK-KS Document 218 Filed 01/29/18 Page 5 of 11 Page ID #:3220




    1           Plaintiffs proposed discovery to close in June. OPEL believes that a close of
    2   discovery in April will suffice.
    3                                Defendant Oppenheimer’s Position.
    4           The Oppenheimer Defendants disagree with Plaintiffs’ characterization of the
    5   prior discovery in this action. Discovery commenced in this action on or around
    6   June 10, 2016 after the Oppenheimer Defendants withdrew their motion to dismiss
    7   for lack of jurisdiction and the parties submitted their Joint Rule 16(b)26(f) Report.
    8   Dkt. No. 35. On November 21, 2016, this Court entered an “Order Continuing
    9   Pretrial and Trial Dates” [Dkt. No. 91] giving Plaintiffs nearly an additional nine
   10   (9) months to conduct discovery, including the deposition of Mr. Oppenheimer. A
   11   subsequent Order entitled “Order Setting Pretrial and Trial Dates” dated March 28,
   12   2017 [Dkt. No. 120] was later issued extending the discovery cut-off until October
   13   30, 2017, giving Plaintiffs almost another three (3) months to take discovery. Thus,
   14   Plaintiffs have already had more than nineteen months to complete their discovery
   15   of the Oppenheimer Defendants in this action.
   16           On October 5, 2017, Plaintiffs served a notice of deposition for Mr.
   17   Oppenheimer’s testimony to take place in Seattle, Washington on October 30,
   18   2017, the last possible date before discovery closed. Dkt. No. 202. The parties
   19   subsequently agreed that Plaintiffs could depose Mr. Oppenheimer on November
   20   20, 2017 based on an agreement that Mr. Oppenheimer would fly from Seattle,
   21   Washington to the Plaintiff Voice Int’l’s counsel’s office in Southern California
   22   with Plaintiffs paying for Mr. Oppenheimer’s flight. Dkt. No. 202. As part of the
   23   parties’ agreement, Plaintiffs agreed to start Mr. Oppenheimer’s deposition at noon
   24   or 1 pm to avoid having to incur the cost for Mr. Oppenheimer’s lodging the night
   25   before if the deposition started in the morning. See Exhibit C. Since Mr.
   26   Oppenheimer would need to leave very early in the morning from Seattle to appear
   27   for his deposition by noon/1 pm in Southern California, Plaintiffs also agreed that
   28   the deposition would not exceed four hours. See id. (“Let’s set a new start time for

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        ACTIVE\53173537.v1-1/29/18
Case 2:15-cv-08830-JAK-KS Document 218 Filed 01/29/18 Page 6 of 11 Page ID #:3221




    1   the deposition to begin at noon or 1:00 pm not expected to exceed 4 hours so Mr.
    2   Oppenheimer can get here in plenty of time.”)
    3           Mr. Oppenheimer’s deposition took place on November 10, 2017. After
    4   examining Mr. Oppenheimer for less than four hours, Plaintiffs announced they had
    5   concluded their deposition. Mr. Oppenheimer did not terminate the deposition, as
    6   Plaintiffs now falsely assert. In fact, Plaintiffs still had time remaining within the
    7   four hour period to further depose Mr. Oppenheimer but chose to close the
    8   deposition. Knowing full well that the time to complete discovery was October 30,
    9   2017, and that the deadline to file discovery motions was November 27, 2017,
   10   Plaintiffs also never filed a motion to compel Mr. Oppenheimer to appear for any
   11   additional examination.
   12           The Oppenheimer Defendants also dispute Plaintiffs’ contention that they
   13   need more time to conduct discovery involving “Oppenheimer’s MakoHead rentals
   14   and the involvement of OPEL or whomever was the recipient of rental income.”
   15   More than two years ago, the Oppenheimer Defendants produced to Plaintiffs
   16   detailed confidential billing records identifying how much rental income was paid
   17   to Mako and OPEL.1 If Plaintiffs truly believed Defendants’ discovery was
   18   insufficient (it is not), they should have brought this issue before the Magistrate
   19   during the discovery period. They should not be permitted to reopen discovery now
   20   more than two years after this case began.
   21           The Oppenheimer Defendants (including Mr. Oppenheimer) have complied
   22   fully with their discovery obligations within the time frame ordered by this Court.
   23   As such, Plaintiffs should not now have the opportunity to reopen discovery as to
   24   the Oppenheimer Defendants.
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          The Oppenheimer Defendants can provide their financial records to the Court if
   28   the Court wishes to review them.

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        ACTIVE\53173537.v1-1/29/18
Case 2:15-cv-08830-JAK-KS Document 218 Filed 01/29/18 Page 7 of 11 Page ID #:3222




    1           B: Plaintiffs Note Defendants’ Abuse Of The Protective Order
    2           The Oppenheimer Defendants have mass designated all 608 produced
    3   documents as “Confidential.” Plaintiffs have made numerous requests for proper
    4   designations. The Oppenheimer Defendants have refused. Plaintiffs were forced to
    5   file Motions to File Under Seal on three occasions. All three times the Court
    6   determined the documents were not confidential. (1) Dkts. 102, 114, 115; (2) Dkts.
    7   135, 137, 138; (3) Dkts. 163, 167, 173, 174, 178, 179, 182, 183. On the third
    8   occasion the Court ordered a briefing schedule. Defendants, before the briefing,
    9   agreed to strike the faulty “Confidential” designations to avoid a hearing.
   10           On January 16, 2018 Plaintiff again emailed Defendants’ Counsel requesting
   11   de-designation according to the Court’s agreed protective order, for 21 pages
   12   Plaintiffs were using as exhibits in their MSJ reply brief. These comprised years
   13   old invoices similar to discovery Judge Kronstadt previously ordered de-designated.
   14   The Oppenheimer Defendants flatly refused. Exhibit B is a true and correct copy of
   15   that email exchange.
   16           In total, Oppenheimer has computer stamped all 608 bates discovery pages,
   17   in six separate productions, “Confidential”. This includes at least 18 totally blank
   18   pages, more pages simply have Dann’s contact information. One page just says,
   19   “Thanks Marty.” The Oppenheimer Defendants further designated the entire
   20   deposition transcript of Marty Oppenheimer as confidential. It is not.
   21           This has deliberately vexed Plaintiffs and multiplied the case load for
   22   Plaintiffs and the Court.
   23           The Court’s protective order, which governs this case, states, “Mass,
   24   indiscriminate, or routinized designation are prohibited. Unjustified designations
   25   expose the designator to sanctions, including the Court’s striking all confidentiality
   26   designations made by that designator. Designation under this Order is allowed only
   27   if the designation is necessary to protect material that, if disclosed to persons not
   28   authorized to view it, would cause competitive or other recognized harm.”

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        ACTIVE\53173537.v1-1/29/18
Case 2:15-cv-08830-JAK-KS Document 218 Filed 01/29/18 Page 8 of 11 Page ID #:3223




    1           Plaintiffs request the Court to strike all confidential designations made by the
    2   Oppenheimer Defendants and order that they pay sanctions to Plaintiffs for the
    3   three previous requests to file under seal. Plaintiffs will provide the 608
    4   “Confidential” documents for a Court review if requested.
    5           Defendant Oppenheimer’s argument below is not accurate and does not
    6   address the issues raised above. In short, every time Plaintiffs have identified so-
    7   called “confidential” documents they would like to attach to a filing, Defendants
    8   refuse to reconsider their designations. It should also be noted that while the
    9   Magistrate Judge declined to de-designate she also did not look at them and instead
   10   stated:
   11                   The Court: … And, Mr. Mr. Doroshow, Mr. Puri, I will say to
   12           the extent you’ve designated blank pages as “confidential,” that will
   13           be difficult – you will have a difficult time meeting your burden if
   14           this comes to briefing to justify that.
   15                   Mr. Puri: Sure.
   16                   The Court: So, I would strongly suggest that there be some
   17           review of those designations to make sure that you folks have not
   18           inadvertently I’m sure – probably much of this is automated in some
   19           ways – overextended that confidentiality designation.
   20                   Mr. Doroshow: Sure.
   21   Exhibit D, (transcript of Magistrate Hearing on 12/5/16, pg. 21, lines 4 – 13).
   22                   Three times now Judge Kronstadt as seen fit to de-designate
   23           Oppenheimer’s “confidential” documents that have been submitted for
   24           his review.
   25           Defendant Oppenheimer’s Position.
   26           The documents that are subject of Plaintiffs’ untimely dispute were produced
   27   by the Oppenheimer Defendants more than a year ago. Plaintiffs had previously
   28   challenged the confidential designations of 599 pages of the 608 pages of

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        ACTIVE\53173537.v1-1/29/18
Case 2:15-cv-08830-JAK-KS Document 218 Filed 01/29/18 Page 9 of 11 Page ID #:3224




    1   documents before the Magistrate in January 2017. At that time, Plaintiffs also
    2   demanded that the Oppenheimer Defendants complete a worksheet requiring
    3   Defendants to provide a line-by-line explanation as to why 599 pages of documents
    4   were designated as Confidential. By written Order dated January 25, 2017 (Dkt.
    5   No. 107), the Magistrate denied Plaintiffs’ challenges to Oppenheimer Defendants’
    6   confidentiality designation to all 599 pages of documents stating:
    7           After further discussion, the Court determines that Plaintiffs’ demand
    8           that defendants complete the ‘worksheet’ is not contemplated by either
    9           the Federal Rules of Civil Procedure or case law. Further, insofar as
   10           Plaintiffs have not indicated that they need to use any of the 599 pages
   11           designated “confidential” in any motion or pending proceeding, much
   12           less that they have been prejudiced by the designations, Plaintiffs have
   13           not demonstrate any basis for the Court to require defendants to
   14           ‘explain’ these discovery designations. Accordingly, the Court finds
   15           Plaintiff’s request is premature and it is, therefore DENIED, without
   16           prejudice.
   17           The Magistrate also advised Plaintiffs at the discovery conference, in
   18   response to their complaints that Defendants produced blank pages with
   19   confidential designations, that they first advise Defendants which pages formed the
   20   basis of their complaints.
   21           Since the Court denied Plaintiffs’ request as unsupported and premature on
   22   January 25, 2017, Plaintiffs has never raised any further challenges to Defendants’
   23   confidentiality designations until December 28, 2017, more than eleven months
   24   after Plaintiffs’ first challenge to the designation of these documents. By that point,
   25   however, the deadline to file discovery motions under LR 37, including challenges
   26   to confidentiality designations, had already passed by more than a month. See J.
   27   Kronstadt’s Standing Protective Order for Patent Cases, ¶ 3(“All challenges to
   28   confidentiality designation shall proceed under Local Rule 37-1 through Local Rule

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        ACTIVE\53173537.v1-1/29/18
Case 2:15-cv-08830-JAK-KS Document 218 Filed 01/29/18 Page 10 of 11 Page ID #:3225




    1   37-4”); see Dkt. No. 120 (November 27, 2017 – Last day to file motions (including
    2   discovery motions). Moreover, rather than complying with the Magistrate’s
    3   instructions over a year ago that Plaintiffs first advise Defendants which blank
    4   pages form the basis of their disputes, Plaintiffs have now used this Joint Report an
    5   opportunity to circumvent the Magistrate’s instructions by bringing their dispute
    6   over the Oppenheimer Defendants’ confidentiality designations before the District
    7   Court.
    8            Plaintiffs have had more than ample time during discovery to comply with
    9   the Magistrate’s instructions and to raise any challenges involving Defendants’
   10   designations, but specifically chose to not do so. Accordingly, Plaintiffs should not
   11   be permitted now to reopen discovery particularly under these circumstances
   12   involving documents that the Oppenheimer Defendants produced more than a year
   13   ago.
   14            Defendant OPEL’s Position
   15            OPEL is not involved in the discovery referred to above by Plaintiff.
   16
   17                  III.    Proposed Dates For Pretrial Conference And Trial
   18            Please see attached Exhibit A.
   19
   20                                Plaintiff David Grober’s Availability
   21            Plaintiff Grober is scheduled for a U.S. Navy ocean research program. His
   22   current schedule has him in Asia and the Indian Ocean on or about May 12 – 30th,
   23   2018, and June 20th to July 25th, 2018. The close of discovery for June 15th, 2018
   24   allows for time away, and is well ahead of trial prep and trial.
   25                                          OPEL’s Position
   26            A close of discovery in April, as proposed by OPEL, would not interfere with
   27   Grober’s travel plans.
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        ACTIVE\53173537.v1-1/29/18
Case 2:15-cv-08830-JAK-KS Document 218 Filed 01/29/18 Page 11 of 11 Page ID #:3226




    1                                Respectively Submitted,
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    6                                By: /s/ David Grober
                                     David Grober
    7                                In Pro Per
    8
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        ACTIVE\53173537.v1-1/29/18
